Case 1:20-cv-01629-RGA-JLH Document 111 Filed 06/29/23 Page 1 of 1 PageID #: 1466




                                IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF DELAWARE

  RIDESHARE DISPLAYS, INC.,                          )
                                                     )
                   Plaintiff,                        )
                                                     )
           v.                                        )     C.A. No. 20-1629-RGA-JLH
                                                     )
  LYFT, INC.,                                        )
                                                     )
                   Defendant.                        )

                                STIPULATION AND ORDER TO
                           EXTEND TIME FOR JOINT STATUS REPORT

             The parties, by and through their undersigned counsel, hereby stipulate and agree,

   subject to approval and order of the Court, that the time for the parties to submit the joint status

   report required by the Court’s May 15, 2023 Oral Order (D.I. 106) is hereby extended by 7

   additional days, through and including Friday July 7, 2023. The extension is necessary to allow

   the parties to meet and confer on issues related to the joint status report.


   SEITZ, VAN OGTROP & GREEN, P.A.                       ASHBY & GEDDES

   /s/ R. Karl Hill                                      /s/ John G. Day
                                                         __________________________
   R. Karl Hill (#2747)                                  John G. Day (#2403)
   222 Delaware Avenue, Suite 1500                       Andrew C. Mayo (#5207)
   P.O. Box 68                                           500 Delaware Ave., 8th Floor
   Wilmington, DE 19899                                  P.O. Box 1150
   (302) 888-7604                                        Wilmington, DE 19899
   khill@svglaw.com                                      (302) 654-1888
                                                         jday@ashbygeddes.com
   Counsel for Plaintiff                                 amayo@ashbygeddes.com
   RideShare Displays, Inc.
                                                         Counsel for Defendant Lyft, Inc.

           IT IS SO ORDERED this ____day of __________, 2023.

                                                          _________________________
                                                          United States Magistrate Judge


  {01917084;v1 }
